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FILED

CT 2 1 2020
IN THE UNITED STATES DISTRICT COURT coon com
FOR THE DISTRICT OF MONTANA cre not Of Montana
BILLINGS DIVISION Billings
UNITED STATES OF AMERICA, CR 19-90-BLG-SPW
Plaintiff, ORDER
VS.
MEREDITH McCONNELL,
BARBARA MARY DAYCHIEF and
SHERYL LYNN LAWRENCE,
Defendants.

 

 

This matter comes before the Court on Defendant Barbara Mary Daychief’s

Joinder (Doc. 101) in Defendant Meredith McConnell’s Motion to Dismiss. (Doc.

96). Both documents were filed August 10, 2020. The United States responded to

the Motion to Dismiss on August 24, 2020, addressing the arguments raised in the

opening brief. (Doc. 109). On August 31, 2020, Daychief filed a Reply Brief in

Support of Joinder Re: McConnell’s Motions to Dismiss, Strike and Sever. In that

reply, Daychief raised, for the first time, an argument that Count VIII (Misprision

of a Felony) must be dismissed for violation of Defendant’s Fifth Amendment

right against self-incrimination. (Doc. 118 at 4). Because this argument was raised
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in a reply brief, the United States was not afforded an opportunity to respond to the
argument.

IT IS HEREBY ORDERD that, to ensure fairness and for good cause
showing, the United States is ordered to file a response to Daychief’s argument to
dismiss the Misprision Offense contained in her Joinder Reply (Doc. 118 at 4) by

Wednesday, November 4, 2020.

DATED this _.%/>'day of October, 2020.

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SUSAN P. WATTERS
UNITED STATES DISTRICT JUDGE
